IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI

SOUTHERN DIVISION
D’LESIA CHAMBERS, )
Plaintiff,
v. Case No. 6:15-cv-03074 MDH
DYLAN CORPORATE SERVICES, 5
INC. and ROBERT J. ECKHOLT, )
Defendants.

STIPULATION OF DISMISSAL WITH PREJUDICE
All the parties to this action hereby stipulate to the dismissal of all claims,

counterclaims and cross claims brought by any of the undersigned parties, with prejudice.

 

Respectfully submitted,
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1
Case 6:15-cv-03074-MDH Document 43 Filed 12/21/15 Page 1 of 2
CERTIFICATE OF SERVICE
The undersigned certifies that a complete copy of the foregoing document was
served upon the attorneys of record for each party to the above action via electronic filing
with the U.S. District Court, Southern Division of the Western District of Missouri on the
21% day of December, 2015.

/s/ Joseph D. Sheppard, DI
Attorney of Record

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2
Case 6:15-cv-03074-MDH Document 43 Filed 12/21/15 Page 2 of 2
